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 7
                                IN THE UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          CASE NO. 1:05-CR-00048-AWI-BAM

11                               Plaintiff,             GOVERNMENT’S MOTION TO DISMISS AND
                                                        ORDER
12                         v.

13   ROGELIO MONGE GUTIERREZ,
     FRANCISCO GAITAN GODINEZ,
14   CARLOS GIL BARRAGAN, and
     FANI LOPEZ,
15    aka Fanny Lopez,

16                               Defendants.

17

18         The United States of America, by and through its undersigned counsel, hereby moves for

19 dismissal of the above-captioned matter as to the above-named defendants for the following reason.

20         Prosecution of this matter is no longer viable.

21 Dated: January 14, 2015                                   BENJAMIN B. WAGNER
                                                             United States Attorney
22
                                                    By: /s/ Karen A. Escobar
23                                                      KAREN A. ESCOBAR
                                                        Assistant United States Attorney
24
                                                   ORDER
25
     IT IS SO ORDERED.
26
     Dated: January 14, 2015
27
                                                SENIOR DISTRICT JUDGE
28
